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                      EXHIBIT E
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McDowell, Amanda

From:                               Bostic, John (USACAN) <John.Bostic@usdoj.gov>
Sent:                               Monday, July 15, 2019 6:29 PM
To:                                 Wade, Lance; Cazares, Steve; Schenk, Jeffrey (USACAN); Leach, Robert (USACAN)
Cc:                                 Coopersmith, Jeff; Gorton, Kelly; Byer, Ben; McDowell, Amanda; Chen, Michelle; Trefz,
                                    Katherine; Roper, Seema Mittal; Downey, Kevin
Subject:                            RE: US v. Holmes et al - Supplemental PO - Revised


[EXTERNAL]

Lance,

I take your point on the italicized language. I edited a similar sentence earlier in the draft but left that one as-is as an
oversight. We will revise that sentence to read: “FDA and CMS confirmed agreement to search for and produce
documents in their possession responsive to all requested categories.”

John

From: Wade, Lance <LWade@wc.com>
Sent: Monday, July 15, 2019 6:23 PM
To: Bostic, John (USACAN) <jbostic@usa.doj.gov>; Cazares, Steve <SteveCazares@dwt.com>; Schenk, Jeffrey (USACAN)
<JSchenk@usa.doj.gov>; Leach, Robert (USACAN) <RLeach@usa.doj.gov>
Cc: Coopersmith, Jeff <JeffCoopersmith@dwt.com>; Gorton, Kelly <KellyGorton@dwt.com>; Byer, Ben
<BenByer@dwt.com>; McDowell, Amanda <AmandaMcDowell@dwt.com>; Chen, Michelle <MChen@wc.com>; Trefz,
Katherine <KTrefz@wc.com>; Roper, Seema Mittal <smroper@wc.com>; Downey, Kevin <KDowney@wc.com>
Subject: RE: US v. Holmes et al - Supplemental PO - Revised

Counsel:

Your draft states that the “FDA and CMS confirmed agreement to search for and produce all non-privileged documents
in their possession responsive to any requested categories.” (Emphasis added). That confirmation is not provided in the
correspondence from the agencies that was sent to defense counsel. We write to confirm that you have independently
received that conformation from the agencies. Given that this (and other) new information was provided to us at this
late hour, with a filing due, we request an immediate response to this inquiry.

Respectfully,

Lance Wade
Williams & Connolly LLP
725 Twelfth Street, N.W., Washington DC 20005
(P) 202-434-5755 | (F) 202-434-5029
lwade@wc.com | www.wc.com/lwade


From: Bostic, John (USACAN) <John.Bostic@usdoj.gov>
Sent: Monday, July 15, 2019 9:00 PM
To: Cazares, Steve <SteveCazares@dwt.com>; Wade, Lance <LWade@wc.com>; Schenk, Jeffrey (USACAN)
<Jeffrey.B.Schenk@usdoj.gov>; Leach, Robert (USACAN) <Robert.Leach@usdoj.gov>
Cc: Coopersmith, Jeff <JeffCoopersmith@dwt.com>; Gorton, Kelly <KellyGorton@dwt.com>; Byer, Ben
<BenByer@dwt.com>; McDowell, Amanda <AmandaMcDowell@dwt.com>; Chen, Michelle <MChen@wc.com>; Trefz,
                                                               1
